Case 1:09-cr-21010-JEM Document 662 Entered on FLSD Docket 11/30/2011 Page 1 of 3




                               UN ITED STA TES DISTRICT CO U RT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE N O.09-21010-CR-M ART1NEZ


  UNITED STATES OF AM ERICA,

         Plaintiff,



  CA RLO S ROD RIGU EZ,

         Defendant.


             AM E ND ED O R DER O N M O TIO N FO R BO N D PEN DIN G A PPEA L

         THIS CAUSE isbeforetheCourtontheM otion forBondPendingAppealbytheDefendant

  (D.E.#585)pursuanttoanOrderGrantinginPartandDenyinginPartCarlosRodriguez'sM otion
  forReconsideration with Respectto OrderDenying M agistrate'sTextOrderDenying M otion for

  Bond PendingAppealentered by theHonorableJoseE.M artinez. (D.E.//660).Specifically,Judge

  M artinezhasreferredthism atterback totheundersignedforarulingtoincludespecificreasonsfor

  thisCourt'spriororder(D.E.#632)denyingtheDefendant'sM otionforBond.Afteronceagain
  review ing the m otion,the response by the G overnm ent and the file in this'cause, this Courtw ill

  specitk ally state its reasons forpreviously denying the Defendant's M otion for Bond Pending

 A ppeal.

         TheDefendantmustdemonstrateal1fourfadorslisted in 18U .S.
                                                                 C.j3143(b)inordertobe
 released on bond pendinghisappeal. In pertinentpart,18U .S.C. j3143(b)states,asfollows:

         b)Releaseordetentionpendingappealbythedefendant--tl)Exceptasprovided
         inparagraph(2),thejudicialofficershallorderthataperson who hasbeenfound
         guilty ofan offenseand sentencedto aterm ofimprisonm ent,and who hastsled an
         appealorapetitionforawritofcertiorari,bedetained,unlessthejudicialofficer
Case 1:09-cr-21010-JEM Document 662 Entered on FLSD Docket 11/30/2011 Page 2 of 3



         finds-


         1.(A)byclearandconvincingevidencethatthepersonisnotlikelytofleeorpose
         adangertothesafetyofany otherperson orthecomm unity ifreleasedundersection
         3142(b)or(c)ofthistitle;and

         (B)thattheappealisnotforthepurposeofdelayandraisesasubstantialquestionof
         1aw orfactlikely to resultin--


         (i)reversal,

        (ii)anorderforanew trial,

        (iii)asentencethatdoesnotincludeaterm ofimprisonment,or

        (iv)areducedsentencetoaterm ofimprisonmentlessthanthetotalofthetime
        already servedplustheexpected duration oftheappealprocess

        Asm entionedbytheDefendantand theGovernment, thisCourtagreeswith thepartiesthat

 M r.Rodriguezhassatisfied twoofthefourrequirementsof18U .S.C.j3143(b).Specifically,this

 CourtfindsthatM r.Rodriguezisnota risk offlightordoesnotpose adangerto thecom munity;

 and thatthe appealis notforthe purpose ofdelay. However,thisCourtdoes nottind thatthe

 Defendanthassatisfiedthethird and fourth requirem entsof18 U .S.
                                                                C.j3143(b).
        ThisCourthasalso reviewed theDefendant'spointsofcontention with respectto whathe

 believesareSdsubstantialissues''onappeal(D.E.#585,pages4-5), and findsthatthe Statutes'third
 and fourth requirem entsaresimply notsatisfied. Consequently,sincethisappealdoesnotraisea

 substantialquestion of law or factthatis likely to resultin a reversalora new trialon al1ofthe

 counts ofwhich he wasconvicted,this Courtiswithoutauthority to granthim the reliefhehas

 requested.

                                              2
Case 1:09-cr-21010-JEM Document 662 Entered on FLSD Docket 11/30/2011 Page 3 of 3



        Accordingly,itisO RDERED AND ADJUDGED asfollows:

        TheM otion forBondPendingAppealbytheDefendant(D E.#585)isDENIED.
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       DONEANDORDEREDthis 9 Q dayofNovember,2011.


                                          ROBER .DUBE
                                          UN ITED STA TES M A G ISTR ATE JU D GE
